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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------x   15-cv-01379 (GTS)(DJS)

NICHOLAS DELUCA,

                                   Plaintiff


                    -against-


ACCOUNT DISCOVERY SYSTEMS, LLC, JUSTIN
MARSHALL, DAVE SEGAL and JH PORTFOLIO
DEBT EQUITIES, LLC.,

                                   Defendants

---------------------------------------------------------------------x



                          STIPULATION OF VOLUNTARY DISMISSAL


TO THE CLERK OF THE COURT:

   IT IS HEREBY STIPULATED by the parties named in the above-entitled action pursuant to

Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, that no party named herein is an

infant or an incompetent person, that the above-entitled action shall be, and hereby is, voluntarily

dismissed by the Plaintiff, NICHOLAS DELUCA, with prejudice as to said Plaintiff and without

costs or attorneys fees as to any party named herein.
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DATED: March 11, 2016

LIPPES MATHIAS WEXLER                  ROBERT L. ARLEO, ESQ.
FRIEDMAN LLP

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         March 14, 2016
